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  AO 91 (Rev. 11/11) Criminal Complaint    PRGLILHGE\86$2IRUWHOHSKRQHRURWKHUUHOLDEOHHOHFWURQLFPHDQV


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                          SouthernDistrict
                                                       __________ Districtof
                                                                           of__________
                                                                              Ohio

                    United States of America                                  )
                               v.                                             )
                                                                              )        Case No. 3:24-mj-00413
                      JOSEPH M. WILSON                                        )
                                                                              )
                                                                              )
                                                                              )
                            Defendant(s)


CRIMINAL COMPLAINT%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                 May 2024 to Present                     in the county of                  Montgomery        in the
       Southern          District of                Ohio                 , the defendant(s) violated:

              Code Section                                                                Offense Description
   21 U.S.C. § 841(a)(1), 841(b)(1)(C)               Conspiracy to Distribute and Possess with Intent to Distribute a Controlled
   and 846                                           Substance.




           This criminal complaint is based on these facts:
   See affidavit of Special Agent Brandon Capps, FBI




           ✔ Continued on the attached sheet.
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                                                                                                               Complainant’s
                                                                                                               C   l i    ’ signature
                                                                                                                             i

                                                                                                           SA Brandon Capps, FBI
                                                                                                                Printed name and title

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       Telephone                                         VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 

  Date:     7/17/24
                                                                                                                  Judge’s signature

  City and state:        Dayton, Ohio                                                          Peter
                                                                                               UNITEDB. Silvain,
                                                                                                         STATES  Jr. MAGISTRATE JUDGE
                                                                                               United StatesPrinted
                                                                                                             Magist name and title
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                           AFFIDAVIT IN SUPPORT OF
                  AN APPLICATION FOR A CRIMINAL COMPLAINT

       I, Brandon Capps, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of a criminal complaint charging Joseph WILSON

with one violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and 846,

conspiracy to distribute and possess with intent to distribute a mixture and substance containing a

detectable amount of fentanyl, a Schedule II controlled substance, and cocaine, a Schedule II

controlled substance.

       2.      I have been employed as a Special Agent with the Federal Bureau of Investigation

(“FBI”) since March of 2020. Prior to my employment at the FBI, I was employed for three

years as a Certified Public Accountant for Plante Moran, PLLC. While employed by the FBI, I

have conducted investigations federal criminal violations related to violent crimes against

children, sexual exploitation of children and human trafficking. I am currently assigned to

investigate violent crime matters to include organized crime, narcotics and controlled substance

trafficking, firearms violations, and other federal violent crime offenses associated with Title 18

and Title 21 of the United States Code. I have gained experience through training at the FBI to

include interviewing techniques, arrest procedures, search and seizure, search warrant

applications, and investigative techniques. Additionally, I have experience utilizing confidential

informants, toll records, GPS information, digital and social media search warrants, bank

records, and other analytical procedures in furtherance of federal investigations. As a federal

agent, I am authorized to investigate violations of United States laws and to execute warrants

issued under the authority of the United States.
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        3.       Through my training and experience as well as discussions with other law

enforcement investigators and cooperating suspects, I have become familiar with coded

terminology utilized by drug trafficking organizations to disguise their illegal activities and the

manner in which they conduct these illegal activities. Furthermore, I have become familiar with

the activities of drug smugglers and drug trafficking distribution networks.

        4.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses.

        5.       Since this affidavit is being submitted for the limited purpose of establishing

probable cause authorizing the arrest of WALDON, I have not included each and every fact and

circumstance of which I am aware. I have set forth only those facts which I believe are

necessary to establish such probable cause.

                                          PROBABLE CAUSE

        6.       Beginning in or about May 2024, I began investigating Steven WALDON for

drug trafficking in the greater Dayton, Ohio area. Through a combination of physical and

electronic surveillance, I learned that WALDON and another coconspirator, Joseph WILSON,

worked together to traffic fentanyl. During my investigation, I physically observed WALDON

and WILSON travel together to conduct drug buys. I also learned, through phone toll analysis,

that WALDON and WILSON communicated frequently to coordinate their drug trafficking

activities.

        7.       Specifically, between May 2024 and July 2024, a confidential and reliable

informant (“CS-1”) 1 conducted five controlled purchases of fentanyl from the WALDON DTO.



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  CS-1 has provided information in the past that has proven to be true and accurate through independent
investigation and which has led to the issuance of search warrants and the recovery of illegal drugs, money, and
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These buys largely demonstrated a consistent pattern in the WALDON DTO’s drug trafficking

activities—namely, WALDON, using cell phone number (937) 469-5648 (the “5648 Phone”),

coordinated the sale of drugs with CS-1 over Facebook Messenger. During those

communications, WALDON instructed CS-1 to meet him (WALDON) at a specific location to

conduct the transaction. WALDON, using the 5648 Phone, then contacted WILSON regarding

the buy. WILSON would typically transport the drugs in a vehicle from the stash house located

at 4892 Marburn Avenue, Dayton, Ohio 45417, to the buy location and provide the drugs to

WALDON. WALDON, in turn, would then hand the drugs to CS-1 in exchange for U.S.

currency.

        8.      For each of these controlled buys, law enforcement physically and electronically

monitored the transaction and searched CS-1 prior to and after each buy to ensure that the only

contraband in CS-1’s possession was the drugs s/he had purchased from WALDON. On all five

occasions, the substance CS-1 purchased from WALDON field-tested positive for fentanyl. To

date, I have received laboratory results for two of the five controlled buys confirming, through

forensic analysis, that the substance CS-1 had purchased from WALDON was in fact fentanyl.

        9.      Throughout my investigation I have observed frequent short-stay traffic at

WALDON’s residence—4860 Porterfield Drive, Dayton, Ohio 45417—consistent with drug

trafficking. I, in conjunction with other investigators, have reviewed pole camera footage of 4860

Porterfield Dr. and observed several instances where individuals, both known and unknown to

law enforcement, stop at 4860 Porterfield for short periods of time before leaving. I believe that




weapons. CS-1 is working for financial consideration. CS-1 has prior criminal felony convictions related to
narcotics. CS-1 has never provided materially false information

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in most, if not all, of these interactions, WALDON is selling fentanyl to these individuals. By

way of example, on June 11, 2024, I reviewed pole camera footage and saw approximately five

vehicles coming and going from 4860 Porterfield over the course of a five-hour period. In each

instance, the vehicle only stayed at 4860 Porterfield for short periods of time (usually fewer than

ten minutes). During this same time frame, on multiple occasions law enforcement observed

WILSON drive away from 4860 Porterfield and then return after only a brief time away,

consistent with WILSON traveling to 4892 Marburn Ave. Based on my training and experience,

as well as my knowledge of the DTO’s methods of operation, I believe that WILSON was

leaving 4860 Porterfield to obtain from 4892 Marburn Ave. more drugs to sell to customers, and

then returning to 4860 Porterfield to provide those drugs to WALDON.

       10.    On July 17, 2024, pursuant to federal search warrants, agents searched the

residence located at 4892 Marburn Ave., where WILSON was found. Inside 4892 Marburn Ave.

agents discovered DSSUR[LPDWHO\JUDPVRIIHQWDQ\O WRWDOSDFNDJHGZHLJKW , a Schedule

II controlled substance. Additionally, agents found DSSUR[LPDWHO\JUDPVRIFRFDLQH

 WRWDOSDFNDJHGZHLJKW , a Schedule II controlled substance. I know, based on my training and

experience, that this quantity of fentanyl and cocaine is a trafficking quantity inconsistent

with personal use. Also inside 4892 Marburn Ave. were a set of keys that opened the door

of 4860 Porterfield Ave., further bolstering my belief that WALDON and WILSON were

working together in a drug trafficking conspiracy.


         11.    All of these events occurred in the Southern District of Ohio.

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                                      CONCLUSION

       12.     Based upon the information provided within this affidavit, I believe that probable

cause has been shown that, beginning on a beginning date unknown, but by at least in or about

May 2024, and continuing through on or about July 17, 2024, Steven WALDON and Joseph

WILSON violated Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and 846, by

conspiring together to distribute and possess with intent to distribute a substance and mixture

containing a detectable amount of fentanyl, a Schedule II controlled substance, and cocaine, a

Schedule II controlled substance.

                                                  Respectfully submitted,



                                                  Brandon
                                                  B d CappsC
                                                  Special Agent
                                                  Federal Bureau of Investigation


      Subscribed and sworn to via reliable electronic means on July_____,
                                                                     17th 2024.



      _________________________________________
      UNITED STATES MAGISTRATE JUDGE
        Peter B. Silvain, Jr.
        United States Magist




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